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Attorneys for Annette Kleinfeld and Alma Kim Green

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
_________________________________________

In re
                                                            Chapter 7
HERMAN SEGAL,
                                                            Case No. 13-45519 (NHL)
                       Debtor.
_________________________________________

                            NOTICE OF APPEARANCE AND
                          DEMAND FOR SERVICE OF PAPERS

        PLEASE TAKE NOTICE that Annette Kleinfeld and Alma Kim Green, by and through

their undersigned counsel, hereby enter a supplemental notice of appearance pursuant to 11

U.S.C. § 1109 and Rule 9010(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”).

        PLEASE TAKE FURTHER NOTICE that Annette Kleinfeld and Alma Kim Green

hereby request, pursuant to Bankruptcy Rule 2002 that copies of all notices and pleadings given

or required to be given, and all papers served or required to be served, be given and served upon

the following persons at the address, telephone number and facsimile number indicated:

                             Michael T. Conway, Esq.
                             LeCLAIRRYAN, a Professional Corporation
                             885 Third Avenue, Sixteenth Floor
                             New York, New York 10022
                             Telephone: (212) 430-8032
                             Facsimile: (212) 430-8062
                             Email: michael.conway@leclairryan.com
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                              and

                              Anna Pia D. Nicolas, Esq.
                              LAZARE POTTER & GIACOVAS LLP
                              875 Third Avenue, 28th Floor
                              New York, New York 10022
                              Telephone: (212) 758-9300
                              Facsimile: (212) 888-0919
                              Email: anicolas@lpgllp.com

       PLEASE TAKE FURTHER NOTICE that pursuant to Section 1109(b) of the

Bankruptcy Code, this request includes not only the notices and papers referred to in the

Bankruptcy Rules specified above, but also includes, without limitation, orders and notices of

any application, motion, petition, pleadings, plans and disclosure statements, request, complaint

or demand, whether formal or informal, whether written or oral, whether transmitted or conveyed

by mail, courier service, hand-delivery, telephone, facsimile transmission, telegraph, telex, e-

mail, Internet, or otherwise filed or made with regard to the above-captioned cases, that affects or

seeks to affect in any way any rights or interests of any party in interest in these cases with

respect thereto.

       PLEASE TAKE FURTHER NOTICE that Annette Kleinfeld and Alma Kim Green

intend that neither this Notice of Appearance and Request for Service of Papers nor any later

appearance, pleading, claim or suit shall waive (i) Annette Kleinfeld and Alma Kim Green’s

right to have final orders in non-core matters entered only after de novo review by a District

Court Judge, (ii) Annette Kleinfeld and Alma Kim Green’s right to trial by jury in any

proceeding so triable in any case, controversy, or proceeding related to this bankruptcy

proceeding, (iii) Annette Kleinfeld and Alma Kim Green’s right to have the District Court

withdraw the reference in any matter subject to mandatory or discretionary withdrawal, or (iv)

any other rights, claims, actions, defense, setoffs, or recoupments to which Annette Kleinfeld and
                                                   2
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Alma Kim Green are or may be entitled under agreements, in law or in equity, including the right

to contest the jurisdiction of the United States Bankruptcy Court for the Eastern District of New

York over Annette Kleinfeld and Alma Kim Green, all of which rights, claims, actions, defense,

setoffs, and recoupments Annette Kleinfeld and Alma Kim Green expressly reserve.

Dated: New York, New York
       March 10, 2015
                                            LeCLAIR RYAN, a Professional Corporation


                                            By:    /s/ Michael T. Conway
                                                     Michael T. Conway
                                                     830 Third Avenue, Fifth Floor
                                                     New York, New York 10022
                                                     Telephone: (212) 430-8032
                                                     Facsimile: (212) 430-8062




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